     Case 1:10-cr-00184-WMS-HBS        Document 282       Filed 08/29/11    Page 1 of 12




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                       DECISION AND ORDER
                                                                      10-CR-184S

ANTONIO BRIGGS and
JEFFREY SIDEBOTTOM,

                      Defendants.


                                    I. INTRODUCTION

        Presently before this Court are pre-trial motions of Defendants Antonio Briggs and

Jeffrey Sidebottom. (Docket Nos. 194, 198.) Briggs and Sidebottom each seek severance

from all remaining co-defendants pursuant to Federal Rules of Criminal Procedure 8 and

14, and request an immediate trial pursuant to the Speedy Trial Act, 18 U.S.C. § 3161 et

seq., and the Sixth Amendment to the United States Constitution. In the alternative,

Defendants each request reconsideration of their respective orders of detention. For the

reasons set forth below, the motions are denied in their entirety.

                                    II. BACKGROUND

A.      Facts

        This Court assumes the parties’ familiarity with the facts and record of proceedings

in this case. This case is presently proceeding on its third superseding indictment. This

case originated with the filing of a multi-count indictment, under seal, on June 24, 2010,

naming 18 defendants, including both Antonio Briggs and Jeffrey Sidebottom. (Docket No.

1.) On July 29, 2010, a federal grand jury issued a sealed Superseding Indictment (Docket


                                             1
  Case 1:10-cr-00184-WMS-HBS            Document 282       Filed 08/29/11     Page 2 of 12




No. 2), and on January 20, 2011, a sealed Second Superseding Indictment was issued

(Docket No. 142). Most recently, on April 21, 2011, a federal grand jury issued a 30-count

Third Superseding Indictment, naming 23 defendants. (Docket No. 202.) Therein, Briggs

and Sidebottom are charged with conspiracy to possess with intent to distribute, and to

distribute, controlled substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1), and 846,

and unlawful use of a telephone in connection with the narcotics allegation, in violation of

21 U.S.C. § 843(b).

       After conducting a hearing on August 26, 2010, the Honorable Hugh B. Scott, United

States Magistrate Judge, directed that Defendant Briggs be detained pending trial. On

September 14, 2010, Briggs filed a bail motion, which Judge Scott denied on December

23, 2010. On December 28, 2010, Briggs appealed the Detention Order, and this Court

denied Briggs’s appeal on March 4, 2011. Briggs thus remains incarcerated.

       Following Defendant Sidebottom’s detention since October 2010, Judge Scott

ordered Sidebottom released from custody on June 8, 2011, to participate in an in-patient

program. (Docket No. 228.)

       On April 7, 2011, Briggs moved for severance from all remaining co-defendants, and

for an immediate trial. (Docket No. 194.) On April 20, 2011, Sidebottom filed his motion

seeking the same relief. (Docket No. 198.)

                                     III. DISCUSSION

       In their motions, both Briggs and Sidebottom move for severance from the

remaining co-defendants, immediate trial under their Sixth Amendment and statutory

speedy trial rights, or, in the alternative, reconsideration of the pretrial detention orders.

Both defendants argue that they currently suffer prejudice as a result of their incarceration

                                              2
     Case 1:10-cr-00184-WMS-HBS        Document 282       Filed 08/29/11    Page 3 of 12




because of the difficulty of conferring with counsel on their defense. Defendant Briggs also

argues that his continued detention harms his family’s financial situation, and Defendant

Sidebottom argues that he would be unduly prejudiced by being tried in the company of

the remaining co-defendants.

A.      Defendants’ Speedy Trial Act Claims

        1.    Severance Requirement

        In cases involving multiple defendants, time is excluded under 18 U.S.C. §

3161(h)(6) for “a reasonable period of delay when the defendant is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for severance has

been granted.” Interpreting this provision, the Second Circuit has held that in multi-

defendant cases, there is a “single speedy trial clock and that delay attributable to any one

defendant is charged against the single clock, thus making the delay applicable to all

defendants.” United States v. Byrd, 466 F. Supp. 2d 550, 551-52 (S.D.N.Y. 2006) (citing

United States v. Pena, 793 F.2d 486, 489 (2d Cir. 1986)).

        In order to invoke the reasonableness requirement under subsection (h)(6), a

defendant must first move for severance from the co-defendants allegedly responsible for

the delay at issue. See United States v. Cephas, 937 F.2d 816, 822 (2d Cir. 1991) (“[T]he

duty to inquire into whether a delay caused by a co-defendant is reasonable is triggered

only when the defendant has sought severance from the particular defendant who is

responsible for the delay at issue.”) Both Defendant Briggs and Sidebottom have satisfied

this requirement by moving for severance. Therefore, this Court must determine whether

the delay was unreasonable under section 3161(h)(6).



                                             3
  Case 1:10-cr-00184-WMS-HBS             Document 282        Filed 08/29/11     Page 4 of 12




         2.    Speedy Trial Act

         The Speedy Trial Act requires the government to bring criminal defendants to trial

within 70 days of their first appearance before a judicial officer or the filing of an indictment,

whichever is later. United States v. Oberoi, 295 F. Supp. 2d 286, 289 (W.D.N.Y. 2003)

(Arcara, J.), aff’d, 547 F.3d 436 (2d Cir. 2008); 18 U.S.C. § 3161(c)(1). The statute,

however, excludes certain periods of delay from the Speedy Trial clock. Specifically, 18

U.S.C. section 3161(h)(6) excludes for “a reasonable period of delay when the defendant

is joined for trial with a co-defendant as to whom the time for trial has not run and no

motion for severance has been granted.” In multiple defendant cases, the only inquiry is

whether the delay was reasonable. United States v. Gambino, 59 F.3d 353, 362 (2d Cir.

1995).

         Here, four defendants were added in the Second Superseding Indictment issued on

January 21, 2011. Neither Briggs nor Sidebottom have alleged that the government has

acted in bad faith and there is no other indication that the government acted improperly.

Consequently, the delay caused by joining the other co-defendants will be deemed

reasonable.

         Additionally, 18 U.S.C. § 3161(h)(1)(H) excludes “[a]ny period of . . . delay

reasonably attributable to any period, not to exceed thirty days, during which any

proceeding concerning the defendant is actually under advisement by the court.” Id.

         If, however, a court cannot decide a pending motion within the 30-day requirement

provided in section 3161(h)(1)(H), “it is always open to [the court] to find that the interest

of justice is best served by granting a continuance under s[ection] 3161(h)(7).” United

States v. Buffalino, 683 F.2d 639, 645 (2d Cir. 1982). Congress created subsection (h)(7)

                                                4
     Case 1:10-cr-00184-WMS-HBS          Document 282     Filed 08/29/11    Page 5 of 12




to “provide courts with the discretion to deal effectively with individual cases.” United

States v. Tunnessen, 763 F.2d 74, 76 (2d Cir. 1985).            “[T]he trial court has the

responsibility to ensure that the length of an excludable continuance is reasonably related

to the needs of the case.” United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181,

1197 (2d Cir. 1989).

        In the present case it is relevant to note that, in tandem with other co-defendants,

both Briggs and Sidebottom have participated in motions that have extended time with their

consent. (See, e.g., Docket No. 194, ¶ 10.) Defendants joined a Motion for Extension of

Time to file Pretrial Motions. (Docket No. 122.) Defendant Briggs also made a Motion of

Bail Application (Docket No. 46.) Although Defendants now intend not to participate in

future motions, (see id. at ¶ 47), both have joined in a further joint motion for discovery.

(Docket No. 225.) Finally, Defendants have not identified the specific periods of time they

consider to fall outside § 3161(h)(7).

        In light of the generality of Defendants’ assertions, the valid joinder of other co-

defendants, and the various motions they have made, and continue to make, this Court

cannot find any ground on which to grant either of their motions for immediate trial on the

basis of 18 U.S.C. § 3161(c)(1). Consequently, Defendants’ Motion for Immediate Trial will

be denied, unless they can show that their Sixth Amendment speedy trial rights have been

violated.

B.      Defendants’ Sixth Amendment Speedy Trial Claims

        Defendants Briggs and Sidebottom have also moved to dismiss the Indictment on

the grounds that his Sixth Amendment speedy trial rights have been violated. (Docket No.

185, ¶ 2.)

                                             5
  Case 1:10-cr-00184-WMS-HBS            Document 282       Filed 08/29/11     Page 6 of 12




       The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall

enjoy the right to a speedy . . . trial . . . .” U.S. Const. amend VI. “Although unusual, it is

possible for a delay that does not violate the [Speedy Trial Act] to run afoul of the Sixth

Amendment’s guarantee of a speedy trial.” United States v. Stone, No. 05-CR-401, 2006

WL 436012, at *6 (E.D.N.Y. Feb 22, 2006).

       To determine whether there has been a constitutional speedy trial violation, courts

look at four factors: (1) the length of the delay; (2) the reason for the delay; (3) the

defendant’s assertion of his right; and (4) prejudice to the defendant. United States v.

Jones, 129 F.3d 718, 724 (2d Cir. 1997) (citing Barker v. Wingo, 407 U.S. 514, 530, 92

S.Ct. 2182, 2191, 33 L.Ed.2d 101 (1972)). The four factors must be weighed together; no

one factor is dispositive. Barker, 407 U.S. at 533.

       Application of the first Barker factor weighs in the Defendants’ favor. A delay in

excess of eight months constitutes presumptive prejudice. See United States v. Vassell,

970 F.2d 1162, 1164 (2d Cir. 1992) Although at the time Defendants filed their motions,

Sidebottom and Briggs had been in detention for between 6 and 7½ months, over 4

months have since then passed. Nevertheless, “such presumptive prejudice cannot alone

carry a Sixth Amendment claim without regard to the other Barker criteria.” Doggett v.

United States, 505 U.S. 647, 656, 112 S. Ct. 2686, 120 L. Ed. 2d 520 (1992).

       With respect to the second Barker factor, Defendants argue that the government

is responsible for the delay, having superceded the previous indictments in order to add

additional defendants as well as to include matters of forfeiture that are unrelated to

Defendant Sidebottom. Although intentional delay by the government would be a serious

matter, Doggett v. United States, 505 U.S. 647, 656, 112 S. Ct. 2686, 120 L. Ed. 2d 520

                                              6
  Case 1:10-cr-00184-WMS-HBS           Document 282      Filed 08/29/11    Page 7 of 12




(1992), here neither the government’s decision to add defendants under the Second

Superceding Indictment nor the forfeiture matters can be held against it. See United

States v. Abad, 514 F.3d 271, 275 (2d Cir. 2008) (describing decision to add defendant as

a valid reason for delay). When, as here, “there is no evidence that the [government]

delayed the trial in bad faith, or to disadvantage the defendant, the second Barker factor

does not weigh in the defendant’s favor.” Parilla v. Goord, 02-CV-5443, 2005 WL

1422132, at *7 (S.D.N.Y. Jun. 20, 2005).

       The third Barker factor also weighs against the Defendants. Prior to bringing this

motion, both Defendants had filed or joined in pending motions. (See, e.g., Docket No.

194, ¶ 10.) In addition, Defendants have waited until now to raise their rights to a speedy

trial. “This is thus not an instance where the defendant has ‘repeatedly and energetically

asserted his rights.” United States v. Gayatrinath, No. 02-cr-673, 2011 WL 873154, at *4

(S.D.N.Y. Mar. 11, 2011) (quoting Garcia Montalvo, 862 F.2d 425, 426 (2d Cir. 1988)).

Defendant Sidebottom’s conduct weighs especially against him because, by having

previously jumped bail, he has disclaimed a desire for a speedy trial. See Rayborn v.

Scully, 858 F.2d 84, 93 (2d Cir. 1988).

       Lastly, this Court finds that the fourth Barker factor weighs against Defendant

Sidebottom, and weighs only slightly in favor of Defendant Briggs. Barker identified three

examples of prejudice: (1) oppressive pretrial incarceration; (2) anxiety and concern of the

accused; and (3) the possibility that the defense will be impaired by dimming memory or

loss of exculpatory evidence or favorable witnesses. Barker, 407 U.S. at 532. “Of these,

the most serious is the last, because the inability of a defendant to adequately prepare his

case skews the fairness of the entire system.” Barker, 407 U.S. at 532.

                                             7
  Case 1:10-cr-00184-WMS-HBS            Document 282        Filed 08/29/11     Page 8 of 12




       Here, Defendants allege generally that they suffer prejudice because pretrial

detention makes it difficult to consult with counsel. However, Defendants do not with any

specificity describe what they have been unable to discuss with counsel or what hardships

they have experienced, such as destruction of evidence or death of a witness. See United

States v. Larson, 627 F.3d 1198, 1209 (10th Cir.) (discussing ways defense could be

hindered as a result of delay). The mere possibility of prejudice is not sufficient to shift the

fourth Barker factor in Defendants’ favor. See United States v. Perez-Cestero, 737 F.

Supp. 752, 767 (S.D.N.Y. 1990) (quoting United States v. Loud Hawk, 474 U.S. 302, 315,

106 S. Ct. 648, 656, 88 L. Ed. 2d 640 (1986)). Indeed, Defendants’ generalized allegations

resemble those rejected by other courts. United States v. Williams, 372 F.3d 96, 113 (2d

Cir. 2004) (“Witnesses have disappeared; recollections are dim; and the investigation is

impaired” held insufficient).

       Defendant Sidebottom argues that it would be prejudicial for him to sit with 23 other

defendants in a courtroom against whom evidence would be presented, with only a

nominal amount of that evidence relating to him. (Docket No. 198, ¶ 18.) However, there

is a presumption in favor of assuming that jurors will follow the court’s instructions and

adequately weigh evidence against the appropriate defendant. United States v. Jass, 569

F.3d 47, 55 (2d Cir. 2009) (quoting Richardson v. Marsh, 481 U.S. 200, 211, 107 S. Ct.

1702, 1709, 95 L. Ed. 2d 176 (1987)). Although there are narrow exceptions to this rule,

see id. at 56, Defendants here do not allege any grounds sufficient to overcome the

presumption.

       Defendant Briggs argues that “continued detention harms his family’s financial

situation because he is not able to operate his clothing store.” (Docket No. 194, ¶ 68.) The

                                               8
     Case 1:10-cr-00184-WMS-HBS           Document 282        Filed 08/29/11     Page 9 of 12




Court has acknowledged that “time spent in jail awaiting trial has a detrimental impact . .

. . [i]t often means loss of a job; it disrupts family life; and it enforces idleness.” Barker, 407

U.S. at 532. Although the detrimental impact claimed by Briggs does not rise to the level

of impairment of his defense, it nevertheless “reaches the threshold level necessary to

establish prejudice.” McCarthy v. Manson, 554 F. Supp. 1275, 1306 (D.C. Conn. 1982).

        Nevertheless, balancing the four Barker factors, this Court finds that Defendants’

Sixth Amendment speedy trial rights have not been violated. Although Briggs has shown

some prejudice, neither Defendant has shown a particularized inability to prepare his

defense.    Moreover, both Defendants have previously joined in motions that have

contributed to the delay. Taken together, Defendants’ Motion for Immediate Trial on the

basis of their Sixth Amendment speedy trial rights must be denied.

C.      Defendants’ Motion for Severance

        Each Defendant “requests that his case be severed from the co-defendants.”

(Docket No. 194, ¶ 70.) Defendants argue that a joint trial would be prejudicial for the

reasons previously stated. (Docket Nos. 194, ¶¶ 68-69;198, ¶ 18.)

        “A district court should grant a severance under Rule 14 [of the Federal Rules of

Criminal Procedure] only if there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent a jury from making a reliable

judgment about guilt or innocence.” United States v. Yousef, 327 F.3d 56, 150 (2d Cir.

2003). There is, however, a strong public policy in favor of joint trials. United States v.

Cardascia, 951 F.2d 474, 482 (2d Cir. 1991). “Moreover, the presumption in favor of a joint

trial is especially compelling where [] the crime involves a ‘common scheme or plan.’”

United States v. Pirro, 76 F. Supp. 2d 478, 483 (S.D.N.Y. 1999) (citing United States v.

                                                9
  Case 1:10-cr-00184-WMS-HBS                    Document 282            Filed 08/29/11         Page 10 of 12




Girard, 601 F.2d 69, 72 (2d Cir. 1979)). And the public interest becomes even stronger

where the defendants are charged in the same conspiracy. Pirro, 76 F. Supp. 2d at 483

(citing cases). Under such circumstances, a joint trial is proper, absent a clear showing of

prejudice. Girard, 601 F.2d at 72.

        In this case, the public interest favors a joint trial. The alleged crimes involve a

common scheme or plan. Additionally, in Count 1 of the Third Superseding Indictment, all

defendants, including Briggs and Sidebottom, are charged in the same conspiracy. This

constitutes an especially compelling public interest that may only be overcome through a

clear showing of prejudice. Girard, 601 F.2d at 72. Defendant Sidebottom’s argument that

prejudice would result “if he should have to sit in a courtroom with 23 other defendants

while evidence is produced against all of these other defendants with a nominal amount

of evidence being provided by the Government as it relates to [him]” must be rejected.

(Docket No. 198, ¶ 18.) Jury instructions can be tailored to ensure that jurors consider the

evidence against the appropriate defendant. Jass, 569 F.3d at 55 (quoting Richardson,

481 U.S. at 211). Defendants have not identified any other particularized prejudice or trial

right that would be infringed by a joint trial.1

                                                        ...

        For these reasons, Defendants’ motion for severance is denied.


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           This Court acknowledges that it m ust “require the prosecutor to m ake an ‘especially com pelling
justification for a joint trial of m ore than ten defendants.’” United States v. Locascio, 357 F. Supp. 2d 536,
543 (E.D.N.Y. 2004) (quoting United States v. Casam ento, 997 F.2d 1141, 1152 (2d Cir. 1989). The
Governm ent has charged that Briggs and Sidebottom , together with the other defendants, are part of the
sam e conspiracy. Unlike cases where m otions for severance have been granted to defendants not part of
the sam e crim inal enterprise, here all the defendants have been charged with being part of a single
conspiracy. See United States v. Bellom o, 954 F. Supp. 630, 650 (S.D.N.Y. 1997). Given the com pelling
public interest at stake, this Court is confident of its ability to m anage this trial with “fairness, patience, and
sound judgm ent.” Casam ento, 887 F.2d at 1152.

                                                        10
  Case 1:10-cr-00184-WMS-HBS          Document 282       Filed 08/29/11    Page 11 of 12




D.     Defendants’ Motion for Reconsideration of Pretrial Detention

       In the alternative, both Defendants seek reconsideration of their pretrial detention

orders. Having considered all grounds put forward by Defendants, including their claims

of prejudice, this Court sees no reason to disturb the Magistrate Judge’s ruling.

       This Court has previously denied Defendant Briggs’ appeal from Judge Scott’s

detention order. (Docket No. 165). The grounds on which that decision were made

remain. “This Court finds that the nature of Defendant’s alleged offenses and his potential

for a lengthy period of incarceration provide a motive to flee and weigh against release.”

(Id.) Furthermore, the evidence against the Defendant appears strong, consisting of

intercepted communications involving Briggs. Moreover, Briggs has a criminal history of

narcotics convictions. In light of this, as well as the various other grounds previously set

forth by this Court, Briggs’ Motion for Reconsideration of his Pretrial detention is denied.

       Defendant Sidebottom similarly moves for reconsideration of his pretrial detention.

This Court notes that since filing his motion, the Defendant has been released from

custody to participate in an in-patient program. (Docket No. 228.) In light of this,

Defendant Sidebottom’s reconsideration of his pretrial detention order is denied as moot.



                                    IV. CONCLUSION

       For the reasons stated above, the Motions for Immediate Trial based upon alleged

violations of the Speedy Trial Act, 18 U.S.C. § 3161 et seq., and the Sixth Amendment to

the United States Constitution filed by Defendants Antonio Briggs and Jeffrey Sidebottom

are denied. Further, the Motions for Severance and Reconsideration are also denied.



                                            11
 Case 1:10-cr-00184-WMS-HBS       Document 282     Filed 08/29/11   Page 12 of 12




                                   V. ORDERS

      IT IS HEREBY ORDERED, that Antonio Briggs’ Motion for Immediate Trial (Docket

No. 194) is DENIED.

      FURTHER, that Antonio Briggs’ Motion for Severance (Docket No. 194) is DENIED.

      FURTHER, that Antonio Briggs’ Motion for Reconsideration of Pretrial Detention

(Docket No. 194) is DENIED.

      FURTHER, that Jeffrey Sidebottom’s Motion for Immediate Trial (Docket No. 198)

is DENIED.

      FURTHER, that Jeffrey Sidebottom’s Motion for Severance (Docket No. 198) is

DENIED.

      FURTHER, that Jeffrey Sidebottom’s Motion for Reconsideration of Pretrial

Detention (Docket No. 198) is DENIED as moot.



      SO ORDERED



Dated: August 26, 2011
       Buffalo, NY
                                                      /s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                     United States District Judge




                                        12
